                      Case 1:12-cr-00292-DAD Document 129 Filed 08/08/18 Page 1 of 2
AO 245D-CAED (Rev. 11/2016) Sheet 1 - Judgment in a Criminal Case for Revocation



                            UNITED STATES DISTRICT COURT
                                               Eastern District of California

           UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                      v.                                                           (For Revocation of Probation or Supervised Release)
           MAYO MARTINEZ MURILLO
                                                                                   Criminal Number: 1:12CR00292-3

                                                                                   Defendant’s Attorney: Gary L. Huss (Appointed)

THE DEFENDANT:

[U]       admitted guilt to violation of charges 6, 7, 8, and 9, as alleged in the Third Superseding Violation Petition filed on 7/11/2018.


Violation Number                        Nature of Violation                                           Date Violation Occurred
Charge 6                                FAILURE TO PARTICIPATE IN THE                                 2/15/2018
                                        SALVATION ARMY PROGRAM AS
                                        DIRECTED
Charge 7                                NEW LAW VIOLATION                                             6/10/2018
Charge 8                                NEW LAW VIOLATION                                             6/10/2018
Charge 9                                NEW LAW VIOLATION                                             6/10/2018

The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 7/22/2013.

        The defendant is sentenced as provided in pages 1 through 2 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

          Appeal Rights GIVEN.                    Charges 1 through 5 are DISMISSED.

          Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

         It is ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                                                         8/6/2018
                                                                                               Date of Imposition of Sentence




                                                                                                Signature of Judicial Officer

                                                                                     DALE A. DROZD, United States District Judge
                                                                                          Name & Title of Judicial Officer

                                                                                                          8/8/2018
                                                                                                            Date
                     Case 1:12-cr-00292-DAD Document 129 Filed 08/08/18 Page 2 of 2
AO 245-CAED (Rev. 11/2016) Sheet 2 - Imprisonment
DEFENDANT: MAYO MARTINEZ MURILLO                                                                                                Page 2 of 2
CASE NUMBER: 1:12CR00292-3


                                                              IMPRISONMENT
         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for term of:
         3 years.




[U]      No TSR: Defendant shall cooperate in the collection of DNA.

[U]      The court makes the following recommendations to the Bureau of Prisons: The Court recommends that the defendant be
         incarcerated in a California facility, specifically Mendota, but only insofar as this accords with security classification and
         space availability. The Court recommends the defendant participate in the 500-Hour Bureau of Prisons Substance Abuse
         Treatment Program.


[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                                      RETURN
I have executed this judgment as follows:




         Defendant delivered on                                      to

at                                          , w ith a certified copy of this judgment.




                                                                                             United States Marshal




                                                                                             By Deputy United States Marshal
